      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 1 of 13 PageID #:1




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

CARY DENTAL ASSOCIATES, PLLC, an                    )
Illinois professional limited liability company,    )
individually and as the representative of a class   )
of similarly-situated persons,                      )
                                                    )
                       Plaintiff,                   ) Civil Action No.
                                                    )
                v.                                  ) CLASS ACTION
                                                    )
ACADEMY OF DENTAL AND MEDICAL                       )
ANESTHESIA (ADMA), LLC, a Montana                   )
limited liability company,                          )
                                                    )
                       Defendant.                   )

                                CLASS ACTION COMPLAINT

       Plaintiff, CARY DENTAL ASSOCIATES, PLLC (“Plaintiff”), brings this action on

behalf of itself and all others similarly situated, through its attorneys, and except as to those

allegations pertaining to Plaintiff or its attorneys, which allegations are based upon personal

knowledge, alleges the following upon information and belief against Defendant, ACADEMY

OF DENTAL AND MEDICAL ANESTHESIA (ADMA), LLC (“Defendant”):

                                    PRELIMINARY STATEMENT

       1.       This case challenges Defendant’s practice of sending unsolicited advertisements

by facsimile.

       2.       The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 U.S.C. § 227 (collectively, “TCPA” or the “Act”), and the

regulations promulgated under the Act, prohibit a person or entity from sending fax

advertisements without the recipient’s “prior express invitation or permission.” The TCPA

provides a private right of action and provides minimum statutory damages of $500 per

violation.
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 2 of 13 PageID #:2




       3.      On or about February 10, 2023, Defendant sent Plaintiff an unsolicited fax

advertisement in violation of the TCPA (the “Fax”), a true and correct copy of which is attached

hereto as Exhibit A, and made a part hereof.

       4.      Upon information and belief, Defendant sent the Fax and other facsimile

transmissions of unsolicited advertisements to Plaintiff and the Class in violation of the TCPA.

       5.      The Fax describes the commercial availability or quality of Defendant’s property,

goods, or services, namely, Defendant’s Botox Filler & PRP Certification training classes.

(Exhibit A).

       6.      Plaintiff alleges on information and belief that Defendant has sent, and continues

to send, unsolicited advertisements via facsimile transmission in violation of the TCPA,

including but not limited to the advertisements sent to Plaintiff.

       7.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

would have been spent on something else. A junk fax intrudes into the recipient’s seclusion and

violates the recipient’s right to privacy. Unsolicited faxes occupy fax lines, prevent fax machines

from receiving authorized faxes, prevent their use for authorized outgoing faxes, cause undue

wear and tear on the recipients’ fax machines, and require additional labor to attempt to discern

the source and purpose of the unsolicited message.

       8.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendant under the TCPA. Plaintiff seeks to certify a class

which were sent the Fax and other unsolicited fax advertisements that were sent without prior

express invitation or permission and without compliant opt-out language (to the extent the

affirmative defense of “established business relationship” is alleged). Plaintiff seeks statutory

damages for each violation of the TCPA and injunctive relief.

                                                  2
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 3 of 13 PageID #:3




       9.       Plaintiff is informed and believes, and upon such information and belief avers,

that this action is based upon a common nucleus of operative facts because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory, namely liability under the TCPA. This action seeks relief

expressly authorized by the TCPA: (i) injunctive relief enjoining Defendant, its employees,

agents, representatives, contractors, affiliates, and all persons and entities acting in concert with

them, from sending unsolicited advertisements in violation of the TCPA; and (ii) an award of

statutory damages in the minimum amount of $500 for each violation of the TCPA, and to have

such damages trebled, as provided by § 227(b)(3) of the Act in the event the Court determines

any TCPA violations were willful or knowing.

                                 JURISDICTION AND VENUE

       10.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47

U.S.C. § 227.

       11.      This Court has personal jurisdiction over Defendant because Defendant transacts

business within this judicial district, has made contacts within this judicial district, and/or has

committed tortious acts within this judicial district.

                                             PARTIES

       12.      Plaintiff, CARY DENTAL ASSOCIATES, PLLC, is an Illinois professional

limited liability company. Plaintiff’s principal place of business is located in Cary, Illinois.

       13.      On information and belief, Defendant, ACADEMY OF DENTAL AND

MEDICAL ANESTHESIA (ADMA), LLC, is a Montana limited liability company with is

principal place of business in Billings, Montana.

       14.      “The Academy of Dental and Medical Anesthesia bridges the gap between

doctors of dentistry and doctors of medicine by providing professional and comprehensive

                                                  3
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 4 of 13 PageID #:4




sedation training and continue dental education. We promote an open dialogue between dental

and medical professionals….Our unique training model empowers the instructor and attendee to

participate in an open and free dialogue of the subject at hand. We are committed to providing

dental and medical professionals with the level of training necessary to ensure sedation services

are provided safely and with confidence.” www.admatraining.org/about/, last visited February

14, 2023.

                                            FACTS

       15.     On or about February 10, 2023, Defendant sent the Fax to Plaintiff using a

telephone facsimile machine, computer, or other device. (Exhibit A).

       16.     The February 10, 2023 Fax states, in part:

                                          BOTOX
                                       FILLER & PRP
                                      CERTIFICATON
Cosmetic & Therapeutic
                                             Friday, May 19th                  $1,250
                                             Botox Course*
                                             Saturday, May 20th       Filler   $1,250
                                             Course*
                                             Sunday, May 21st                  $1,400
                                             PRP Course
                                             All-inclusive Fri. Sat. & Sun.    $3,400
                                             Course*

The Fax provides the following telephone number and website for registration:

REGISTER
(855) 406-7671
www.admatraining.org

(Exhibit A).

       17.     Defendant created or made the Fax, or directed a third party to do so, and the Fax

was sent by or on behalf of Defendant with Defendant’s knowledge and authorization.



                                                4
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 5 of 13 PageID #:5




       18.      Plaintiff did not give Defendant “prior express invitation or permission” to send

the Fax.

       19.      On information and belief, Defendant faxed the same and other unsolicited

facsimiles advertisements without first receiving the recipients’ prior express invitation or

permission, and without the required opt-out language, see 47 U.S.C. § 227(b)(1)(C) and 47

C.F.R. § 64.1200(a)(4), thereby precluding the affirmative defense of established business

relationship.

       20.      There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized fax advertisements. Fax machines are left on and ready to receive the

urgent communications their owners desire to receive.

       21.      The Fax does not display a proper opt-out notice as required by 47 U.S.C.

§ 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(4). In fact, there is no opt-out notice at all.

                              CLASS ACTION ALLEGATIONS

       22.      In accordance with Fed. R. Civ. P. 23(b)(3), Plaintiff brings this class action

pursuant to the TCPA, on behalf of the following class:

       All persons who (1) on or after four years prior to the filing of this action, (2)
       were sent telephone facsimile messages of material advertising the commercial
       availability or quality of any property, goods, or services by or on behalf of
       Defendant, (3) from whom Defendant did not obtain “prior express invitation
       or permission” to send fax advertisements, or (4) with whom Defendant did not
       have an established business relationship, or (5) where the fax advertisements
       did not include an opt-out notice compliant with 47 C.F.R. § 64.1200(a)(4).

Excluded from the Class are Defendant, its employees and agents, and members of the Judiciary.

Plaintiff seeks to certify a class which includes, but is not limited to, the Fax advertisement sent

to Plaintiff. Plaintiff reserves the right to amend the class definition upon completion of class

certification discovery.




                                                 5
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 6 of 13 PageID #:6




       23.       Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is

numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty.

       24.       Commonality (Fed. R. Civ. P. 23(a)(2)): Common questions of law and fact

apply to the claims of all class members. Common material questions of fact and law include, but

are not limited to, the following:

                 (a)    Whether the Fax and other faxes sent during the class period constitute

       advertisements under the TCPA and its implementing regulations;

                 (b)    Whether each Defendant meets the definition of “sender” for direct TCPA

       liability, meaning a “person or entity on whose behalf a facsimile unsolicited

       advertisement is sent or whose goods or services are advertised or promoted in the

       unsolicited advertisement,” 47 C.F.R. § 64.1200(f)(10);

                 (c)    Whether Defendant had prior express invitation or permission to send

       Plaintiff and the class fax advertisements;

                 (d)    Whether the Fax contains an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

                 (e)    Whether Defendant should be enjoined from faxing advertisements in the

       future;

                 (f)    Whether Plaintiff and the other members of the class are entitled to

       statutory damages; and

                 (g)    Whether the Court should award treble damages.




                                                  6
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 7 of 13 PageID #:7




       25.     Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff's claims are typical of the claims of

all class members. Plaintiff received the same or similar faxes as the Fax sent by or on behalf of

Defendant advertising the commercial availability or quality of Defendant’s property, goods, or

services during the Class Period. Plaintiff is making the same claims and seeking the same relief

for itself and all class members based upon the same federal statute. Defendant has acted in the

same or in a similar manner with respect to Plaintiff and all the class members by sending

Plaintiff and each member of the class the same or similar faxes or faxes which did not contain

the proper opt-out language or were sent without prior express invitation or permission.

       26.     Fair and Adequate Representation (Fed. R. Civ. P. 23(a)(4)): Plaintiff will fairly

and adequately represent and protect the interests of the class. Plaintiff is interested in this

matter, has no conflicts, and has retained experienced class counsel to represent the class.

       27.     Predominance and Superiority (Fed. R. Civ. P. 23(b)(3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class

action is superior to other methods for the fair and efficient adjudication of the controversy

because:

               (a)     Proof of the claims of Plaintiff will also prove the claims of the class

       without the need for separate or individualized proceedings;

               (b)     Evidence regarding defenses or any exceptions to liability that Defendant

       may assert and attempt to prove will come from Defendant’s records and will not require

       individualized or separate inquiries or proceedings;

               (c)     Defendant has acted and are continuing to act pursuant to common

       policies or practices in the same or similar manner with respect to all class members;

               (d)     The amount likely to be recovered by individual class members does not

       support individual litigation. A class action will permit a large number of relatively small

                                                   7
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 8 of 13 PageID #:8




       claims involving virtually identical facts and legal issues to be resolved efficiently in one

       proceeding based upon common proofs; and

               (e)     This case is inherently manageable as a class action in that:

                       (i)     Defendant identified persons to receive the Faxes transmissions

               and it is believed that Defendant’s and/or Defendant’s agents’ computers and

               business records will enable Plaintiff to readily identify class members and

               establish liability and damages;

                       (ii)    Liability and damages can be established for Plaintiff and the class

               with the same common proofs;

                       (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;

                       (iv)    A class action will result in an orderly and expeditious

               administration of claims and it will foster economics of time, effort, and expense;

                       (v)     A class action will contribute to uniformity of decisions

               concerning Defendant’s practices; and

                       (vi)    As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.

              Claim for Relief for Violation of the TCPA, 47 U.S.C. § 227 et seq.

       28.     The TCPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

       29.     The TCPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any




                                                   8
      Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 9 of 13 PageID #:9




person without that person's prior express invitation or permission, in writing or otherwise.”

47 U.S.C. § 227(a)(5).

       30.     Opt-Out Notice Requirements. The TCPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               (1)       A statement that the recipient is legally entitled to opt-out of receiving

       future faxed advertisements – knowing that he or she has the legal right to request an opt-

       out gives impetus for recipients to make such a request, if desired;

               (2)       A statement that the sender must honor a recipient’s opt-out request within

       30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

       opt-out, if they did not want future faxes, by advising them that their opt-out requests will

       have legal “teeth”;

               (3)       A statement advising the recipient that he or she may opt-out with respect

       to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

       advertisement from the sender – thereby instructing a recipient on how to make a valid

       opt-out request for all of his or her fax machines;

               (4)       The opt-out language must be conspicuous.

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

and Order, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took effect on

August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act and

                                                  9
    Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 10 of 13 PageID #:10




incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the Opt-

Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

important consumer protections bestowed by Congress upon the owners of the telephone lines

and fax machines giving them the right, and means, to stop unwanted faxed advertisements.

       31.    2006 FCC Report and Order. The TCPA, in § (b)(2) of the Act, directed the

FCC to implement regulations regarding the TCPA, including the TCPA’s Opt-Out Notice

Requirements, and the FCC did so in its 2006 Report and Order, which in addition provides

among other things:

              A.      The definition of, and the requirements for, an established business

       relationship for purposes of the first of the three prongs of an exemption to liability under

       § (b)(1)(C)(i) of the Act and provides that the lack of an “established business

       relationship” precludes the ability to invoke the exemption contained in § (b)(1)(C) of the

       Act (See 2006 Report and Order ¶¶ 8-12 and 17-20);

              B.      The required means by which a recipient’s facsimile telephone number

       must be obtained for purposes of the second of the three prongs of the exemption under §

       (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶ 13-16);

              C.      The things that must be done in order to comply with the Opt-Out Notice

       Requirements for the purposes of the third of the three prongs of the exemption under §

       (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See

       2006 Report and Order ¶¶ 24-34);




                                                10
    Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 11 of 13 PageID #:11




        32.     The Fax. Defendant sent the Fax on or about February 10, 2023, via facsimile

transmission from telephone facsimile machines, computers, or other devices to the telephone

lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Fax constitutes

an advertisement under the Act and the regulations implementing the Act. Defendant failed to

comply with the Opt-Out Requirements in connection with the Fax. The Fax was transmitted to

persons or entities without their prior express invitation or permission and Defendant is

precluded from asserting that Defendant had an established business relationship with Plaintiff

and other members of the class, because of the failure to comply with the Opt-Out Notice

Requirements. By virtue thereof, Defendant violated the TCPA and the regulations promulgated

thereunder by sending the Fax via facsimile transmission to Plaintiff and members of the Class.

Plaintiff seeks to certify a class which includes the Fax and all others sent during the four years

prior to the filing of this case through the present.

        33.     Defendant’s Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendant has sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class other faxes that constitute advertisements under the TCPA and its

implementing regulations that were transmitted to persons or entities without their prior express

invitation or permission and without compliant opt-out notice. By virtue thereof, Defendant

violated the TCPA and the regulations promulgated thereunder.

        34.     The TCPA provides a private right of action to bring this action on behalf of

Plaintiff and the Class to redress Defendant’s violations of the Act, and provides for statutory

damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is appropriate. Id.




                                                  11
    Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 12 of 13 PageID #:12




       35.     The TCPA is a strict liability statute, so Defendant is liable to Plaintiff and the

other class members even if their actions were only negligent.

       36.     Defendant knew or should have known that (a) Plaintiff and the other class

members had not given prior express invitation or permission for Defendant or anybody else to

send faxes advertising the commercial availability or quality of Defendant’s property, goods, or

services, namely its custom calendars; (b) Plaintiff and the other class members did not have an

established business relationship; (c) Defendant transmitted advertisements; (d) the Fax does not

contain the required Opt-Out Notice, thereby precluding the affirmative defense of established

business relationship; and (e) Defendant’s transmission of fax advertisements without prior

express invitation or permission was unlawful.

       37.     Defendant’s actions injured Plaintiff and the other class members. Receiving

Defendant’s junk faxes caused Plaintiff and the other recipients to lose paper and toner

consumed in the printing of Defendant’s fax. Moreover, Defendant’s fax used Plaintiff's and the

other class members’ telephone lines and fax machines. Defendant’s fax cost Plaintiff and the

other class members time, as Plaintiff and the other class members and their employees wasted

their time receiving, reviewing, and routing Defendant’s unauthorized fax. That time otherwise

would have been spent on Plaintiff's and the other class members’ business or personal activities.

Defendant’s faxes intruded into Plaintiff’s and other class members’ seclusion and violated their

right to privacy, including their interests in being left alone. Finally, the injury and property

damage sustained by Plaintiff and the other class members from the sending of Defendant’s

advertisements occurred outside of Defendant’s premises.

       WHEREFORE, Plaintiff, CARY DENTAL ASSOCIATES, PLLC, individually and on

behalf of all others similarly situated, demands judgment in its favor and against Defendant,

ACADEMY OF DENTAL AND MEDICAL ANESTHESIA (ADMA), LLC, as follows:

                                                 12
    Case: 3:23-cv-50084 Document #: 1 Filed: 03/14/23 Page 13 of 13 PageID #:13




       A.      That the Court adjudge and decree that the present case may be properly

maintained as a class action, appoint Plaintiff as the representative of the class, and appoint

Plaintiff’s counsel as counsel for the class;

       B.      That the Court award statutory liquidated damages in the sum of five hundred

dollars ($500.00) for each violation, and that the Court award treble damages of $1,500.00 if the

violations are deemed “willful or knowing”;

       C.      That Court enjoin Defendant from additional violations; and

       D.      That the Court award pre-judgment interest, costs, and such further relief as the

Court may deem just and proper.

                                                Respectfully submitted,

                                                CARY DENTAL ASSOCIATES, PLLC,
                                                individually, and as the representative of a class of
                                                similarly-situated persons

                                       By:      /s/ Ryan M. Kelly
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                                                  13
